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                       IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               v.
                                                             Case No. 21-CR-40 (TNM)
CHRISTOPHER QUAGLIN

                      Defendant.



                         MOTION TO WITHDRAW AS COUNSEL


       Joseph D. McBride, an attorney of record for Christopher Quaglin, a defendant in the

above-captioned case, hereby respectfully moves this Honorable Court for an order allowing him

to withdraw as attorney of record.

                                     STATEMENT OF FACTS

       I am the attorney of record in several January 6th related matters, including USA v. Ryan

Taylor Nichols, 21-cr-117-RCL, a complex multi-defendant case scheduled for trial on March

27, 2023. Trial preparation for the Nichols case and the breathtakingly large amount of

discovery recently produced by the Government in every January 6th case has created a conflict

for me where I cannot be ready for trial anytime soon in the above-captioned matter.

       I recently notified Mr. Quaglin, and his family, of my conflict and agreed that attorney

Jonathan S. Gross, currently the second chair in this case, should take over as lead counsel. Mr.

Gross is signed as an attorney of record in Mr. Nichols’s case. Mr. Gross will file a motion to

withdraw from the Nichols case today to devote his time and attention to Mr. Quaglin. It is

respectfully submitted that this request will not prejudice Defendant Quaglin because Mr. Gross,

who knows Quaglin’s case well, will assume the duties of lead counsel going forward.



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       WHEREFORE, it is respectfully requested that in consideration of the abovementioned

facts, this court issue an order permitting undersigned counsel to withdraw as attorney of record

and, by doing so, relieve him of any further obligation to this case.



Dated: New York, NY
       March 6, 2022

                                                      Respectfully submitted,

                                                      /s/ Joseph D. McBride, Esq.
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